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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA


Transdev Services Inc.                  )
720 E. Butterfield Road                 )
Suite 300                               )
Lombard, Illinois 60148                 )
                                        )
           Plaintiff.                   )
                                        )     Case No:
v.                                      )     Judge:
                                        )     Magistrate:
ACO/DSC Inc.                            )
3211 South Cherokee Lane                )
Suite 640                               )
Woodstock, Georgia 30188                )
                                        )
John McCrary                            )
Registered Agent                        )
3211 South Cherokee Lane                )
Suite 640                               )
Woodstock, Georgia 30188                )
                                        )
                                        )
           Defendants.                  )


                            PLAINTIFF’S COMPLAINT

           For its Complaint against Defendants ACO/DCS Inc. and John McCrary

(“Defendants”), Plaintiff Transdev Services Inc. (“Plaintiff”) states as follows:




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                                           Parties

           1.      Plaintiff Transdev Services Inc. (“Transdev”) is a Maryland

corporation with its principal place of business at 720 E. Butterfield Road, Suite

300, Lombard, Illinois 60148.

           2.      Defendant ACO/DSC Inc. (“DCS”) is a Georgia corporation with a

principal place of business at 3211 South Cherokee Lane, Suite 640, Woodstock,

Georgia 30188.

           3.      Upon information and belief, Defendant John McCrary (“McCrary”)

is a natural person domiciled and residing in Georgia and is listed as the CEO and

registered agent of ACO/DCS.

                                  Jurisdiction and Venue

           4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332 in that complete diversity exists among the parties and the amount in

controversy exceeds $75,000.00.

           5.      Venue is proper in this court, pursuant to 28 U.S.C. § 1391(b),

because Defendants reside and do business in the Northern District of Georgia and

a substantial part of the events and omissions giving rise to the claims occurred in

the Northern District of Georgia.




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                                           Facts

           6.      On January 14, 2015, DCS Retirement Group, now DCS, entered into

a contract with Veolia Transportation Systems, now Transdev. In that agreement,

DCS agreed to provide consulting and annual and administrative services for

Transdev’s Greensboro employees’ retirement plans. On January 14, 2015, ERISA

3(16) Participant Services, Inc., now DCS, entered into a contract with Veolia

Transportation Services, now Transdev. In that agreement, DCS agreed to provide

fiduciary services for Transdev’s Greensboro employees’ retirement 401(k) and

pension plans. Transdev and DCS also entered into an agreement that DCS would

serve as fiduciary of the Greensboro Employee pension plan. Collectively, these

agreements will be referred to as “the Agreements.”

           7.      On July 26, 2017, Melissa Foley, Manager of Retirement Plans for

Transdev, asked John McCrary, CEO of DCS, to provide an analysis of the five (5)

year funding requirements and projection of expected costs for the Greensboro

employee retirement plans (“the projections”). Transdev needed the projections to

submit a bid for the Greensboro Transit Authority project.

           8.      McCrary and other DCS representatives repeatedly promised DCS

that the projections would be provided. DCS relied on this promise to their

detriment.


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           9.      Transdev is entitled to the analysis of the five (5) year funding

requirements and projection of expected costs for the Greensboro employee

retirement plans, under the aforementioned agreements.

           10.     Between July 28, 2017 and August 4, 2017, Foley sent five (5) emails

requesting the projections. Foley emailed McCrary on July 26, August 1, August 2,

and August 3 requesting the projections and noting the urgency of the request.

Foley also left a voicemail for McCrary on August 3. On August 4, 2017, Foley

emailed Panrong Xiao, an employee at DCS, requesting his assistance with the

“urgent situation” and requesting the projections.

           11.     On August 7, 2017, Xiao responded to Foley, promising that McCrary

would send Transdev the projections by end of day. The projections were not sent.

           12.     On August 10 and August 11, 2017, Foley sent two follow-up emails

to Xaio and McCrary asking for the projections. The emails again noted the

urgency of the request.

           13.     On August 15, 2017, Xiao responded to Foley, again promising that

Transdev would have the projections by end of day. The projections were not sent.

           14.     On August 17, 2016, Foley sent an email to McCrary and Xiao again

requesting the projections.




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           15.   On August 25 and August 29, 2017, Foley requested the projections

from McCrary and Xiao again and reminded them the need for the projections was

critical.

           16.   On August 30, 2017, Marcie Meyer, the Director of Benefits at

Transdev, sent McCrary an email requesting the projections.

           17.   On August 30, 2017, McCrary responded to Meyer claiming the

projections had been sent out the projections via email on August 22, 2017. The

projections were never received.

           18.   On August 30, 2017, Meyer requested the projections be re-sent.

           19.   On August 31 and September 5, 2017, Meyer emailed McCrary again

to request the projections be sent to Transdev.

           20.   On September 5, 2017, Ed Overn, the Southeast Regional Vice

President at Transdev, emailed McCrary and Xiao asking why the projections had

still not been received.

           21.   On September 12, 2017, Meyer again requested the projections from

McCrary and Xiao and reminded them that Transdev’s need for the projections

was “critical”.




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           22.   On September 20, 2017, Tom Harris, Transdev’s General Counsel,

requested DCS send Transdev the projections or for DCS to provide a reason why

they were unavailable.

           23.   On September 20, 2017, McCrary responded to Harris and promised

the projections would be sent out the next day. The projections were not sent.

           24.   On October 9, 2017, Harris again requested the projections from

McCrary or for McCrary to provide a reason explaining why the projections were

still unavailable.

           25.   On October 10, 2017, McCrary responded the projections would be

sent as soon as possible. The projections were not sent.

           26.   On October 24, 2017, Anita Skotnicki, the EVP of Transdev, spoke

with McCrary via telephone, and McCrary assured Skotnicki that the projections

were completed and would be sent to Transdev immediately.

           27.   On October 25, 2017, McCrary sent an email to Skotnicki assuring

her the actuarial projections were ready but needed to be reviewed and would be

forwarded later that day.

           28.   On October 25 and 26, 2017, Skotnicki once again asked McCrary for

a copy of the projections. Skotnicki once again informed McCrary that the

Transdev has a “critical need” for the projections.


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           29.   On October 31, 2017, McCrary again promised to send the projections

by end of day. The projections were not sent.

           30.   To date, Transdev has still not received the projections.

           31.   Despite the Plaintiff’s many requests to be provided with the

projections, Defendants have failed to produce the projections or a viable reason

for why they have not complied with the aforementioned agreements, contractual

obligations and promises.

                              Count I – Breach of Contract

           32.   Transdev hereby incorporates Paragraphs 1 through 31 of the

Complaint as if the same were fully set forth herein.

           33.   Parties entered into valid and enforceable Agreements for DCS and its

related entities to provide consulting and annual and administrative services and

serve as fiduciaries for the Greensboro employee retirement plans.

           34.   Plaintiff has made repeated attempts to secure the necessary

projections from the Defendants. Plaintiff is entitled to these documents under the

Agreements.

           35.   Defendants repeatedly promised to comply with the agreements to

provide the projections.




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           36.   Plaintiff fully performed its obligations owed to Defendants under the

Agreements.

           37.   Defendants have breached the Agreements by purposefully delaying

and failing to supply Plaintiffs with the projections, despite knowing the Plaintiff

had critical need for the projections.

           38.   As a direct and proximate result of this breach Plaintiff has suffered

and will suffer an amount to be proved at trial, but believed to be in excess of

$75,000.


                    COUNT II - BREACH OF FIDUCIARY DUTY

           39.   Plaintiff repeats and realleges the allegations set forth in Paragraphs 1-

38 in this Complaint as if fully set forth herein.

           40.   At all times relevant to this matter, Defendants held themselves out as

a skilled administrators and fiduciaries who had expertise in determining the

appropriate actions for managing the plans under ERISA.

           41.   As a co-fiduciary to Plaintiff, Defendants owed a fiduciary duty to the

Plaintiff. Defendant’s fiduciary duty obligated it to maintain records under the

plan, to monitor the plan and be responsive in plan management, to provide

Plaintiff with the documents necessary to run their business, and to act in the best

interests of the plan.


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           42.   The Defendant’s breached their fiduciary duty by gross indifference

and failure to comply with their recordkeeping and plan management duties to the

Plaintiff and as required by ERISA. As a co-fiduciary, Plaintiff has the obligation,

under ERISA, to monitor and act in the best interest of the plan, which the Plaintiff

has been unable to do as a result of the Defendants failures.

           43.   As a direct and proximate result of Defendant's breaches of fiduciary

duties, Plaintiff has and will sustain significant losses, the precise amount to be

determined at trial, but believed to be in excess of $75,000.


                       COUNT III – PROMISSORY ESTOPPEL

           44.   Plaintiff repeats and realleges the allegations set forth in Paragraphs 1-

43 in this Complaint as if fully set forth herein.

           45.   As a result of Defendants’ conduct and representations as described

above, Defendants are estopped from denying that they were not required to

provide the requested projections.

           46.   Defendants have failed to provide the necessary projections to the

Plaintiff despite their continued promises that they would be provided, Plaintiff

relied on these express and implied representations and promises to its detriment.




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           47.   As a direct and proximate result, Defendants have caused damage to

the Plaintiff in an amount to be determined at trial, but believed to be in excess of

$75,000.


WHEREFORE, Transdev prays for relief against Defendants as follows:

    1. A Judgment against the Defendants for breach of contract for an amount to

           be proven at trial in excess of $75,000;

    2. A Judgment against the Defendants for breach of fiduciary duty for an

           amount to be proven at trial in excess of $75,000;

    3. A Judgment against the Defendants for promissory estoppel for an amount to

           be proven at trial in excess of $75,000;

    4. Injunctive relief directing the Defendants to produce all the data described in

           the Agreements to the Plaintiff;

    5. Attorneys’ fees, costs and expenses; and

    6. Any such other relief, including injunctive and equitable relief, to which the

           Court deems Transdev is entitled.




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                                             Respectfully submitted,


                                             /s/ Anthony Bonner
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